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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

     Criminal Case No. 22-cr-00012-WJM

     UNITED STATES OF AMERICA,

            Plaintiff,

     v.

     LAWRENCE RUDOLPH and
     LORI MILLIRON

            Defendants.


                         GOVERNMENT’S LIST OF PROPOSED WITNESSES


            The government hereby submits its final list of proposed witnesses. The government

     understands that both parties have cross-designated forensic ballistics expert Lucien Haag as a

     “will call” witness.” If, despite that designation, the defendant ultimately elects not to call Lucien

     Haag after the government rests, the government will seek leave to re-open its case in chief so

     that Mr. Haag can describe his expert conclusions to the jury. The parties have cross-designated

     forensic ballistics expert Rick Vasquez as a “may call.”

                    Respectfully submitted this 6th day of July, 2022.

                                                            COLE FINEGAN
                                                            United States Attorney

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                                  CERTIFICATE OF SERVICE


         I hereby certify that on this 6th day of July, 2022, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification to all counsel of

record




                                                        By:     /s Bryan Fields
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